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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

DANIELLE BRAZZIEL, an individual, and )
ARYION BRAZZIEL, an individual,         )
                                        )
                                        )   Case No.
                    Plaintiffs,         )   Hon.
                                        )
       v.                               )
                                        )
CITY OF DETROIT, a Michigan             )
                                        )
municipality, BRIELLE WOODS, in his     )
individual capacity, and MICHAEL STONE, )
in his individual capacity,             )
                                        )
                                        )
                    Defendants.
                                                                             /

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                                                                             /

                  COMPLAINT AND JURY DEMAND
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      Plaintiff Danielle Brazziel and Aryion Brazziel, files this Complaint and Jury

Demand against Defendants Detroit police officers, Brielle Woods and Michael

Stone and the City of Detroit, a Michigan municipality, and says:

      1.     In the late evening of April 15, 2023, Plaintiff Danielle Brazziel and her

adult daughter Aryion Brazziel, were at their home on Ward Avenue in the City of

Detroit, Michigan when Defendant Detroit Police Officers Brielle Woods and

Michael Stone, without legal justification or excuse, shot and killed their kind, good-

natured, well-trained family dog right in front of them. Plaintiff Danielle Brazziel

and her adult daughter Aryion Brazziel, file this civil action in order to vindicate the

violation of her Fourth Amendment rights against unlawful seizures and excessive

force pursuant to 42 USC §1983.

      2.     Plaintiff Danielle Brazziel is an individual who resides in the City of

Detroit, Michigan, which is located in this Judicial District.

      3.     Plaintiff Aryion Braziel is an individual who resides in the City of

Detroit, Michigan, which is located in this Judicial District.

      4.     Defendant Brielle Woods is a sworn police officer who works for the

City of Detroit Police Department and resides and/or transacts business in this

Judicial District.




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      5.     Defendant Michael Stone is a sworn police officer who works for the

City of Detroit Police Department who resides and/or transacts business in this

Judicial District.

      6.     Defendant City of Detroit is a Michigan municipal corporation which

operates the City of Detroit Police Department which is located and transacts

business in this Judicial District.

      7.     Defendant Woods is not entitled to qualified or any other immunity

because he knowingly and intentionally violated Plaintiff’s clearly established

Fourth Amendment rights to which any reasonable officer would have known. He is

being sued in his individual capacity.

      8.     Defendant Stone is not entitled to qualified or any other immunity

because he knowingly and intentionally violated Plaintiff’s clearly established

Fourth Amendment rights to which any reasonable officer would have known. He is

being sued in his individual capacity.

      9.     The incidents, events and transactions which form the basis of this

Complaint took place in the City of Detroit, Wayne County, Michigan.

      10.    Venue is proper in this Court pursuant to 28 USC §§1391(a)(1) and (2)

since the events giving rise to this claim all occurred in Wayne County, Michigan

which is located within this District.




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      11.    Jurisdiction is proper pursuant to 28 USC §§1343(a)(3) and 1331 and

42 USC §1983.

                    COMMON FACTUAL ALLEGATIONS

      12.    Plaintiffs Danielle Brazziel and Aryion Brazziel reallege each

paragraph above, word for word.

      13.    On April 15, 2023, Plaintiffs and their family’s small dog, a 3-year-old

mix named “Bane” were at the family’s residence on Ward Avenue in the City of

Detroit.

      14.    Shortly before midnight, Defendant officers Woods and Stone were in

their patrol car when they were assigned a general service call at Plaintiffs’ residence

for a report of unruly teenagers. Plaintiff had placed the call at 10:21 pm, and the

call had gone unanswered for over an hour and 40 minutes.

      15.    Defendant officers Woods and Stone exited their patrol car outside of

Plaintiff’s home and knocked on the front door.

      16.    A few moments later, Plaintiffs, and dog Bane, walked along the home’s

driveway, from the rear yard to the front of the home in order to greet Defendants

Woods and Stone, who were standing with flashlights in the home’s front yard.

      17.    Defendant Stone became startled by the small dog which excitedly ran

around a tree by the sidewalk, when without warning or legal justification,

Defendant Stone drew his service revolver and senselessly fired multiple shots, some


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of which struck and killed Bane in front of the horrified Plaintiff and her minor

daughter.

      18.    Defendant Woods failed to intervene to prevent the violation of

Plaintiff’s Fourth Amendment rights.

      19.    Plaintiffs were startled, horrified, shocked, terrified, and confused by

Defendant Stone’s wanton disregard for their family, the family dog and the general

safety of innocent citizens and property in the immediate area.

                                         COUNT I

              UNLAWFUL SEIZURE IN VIOLATION OF
        THE FOURTH AMENDMENT PURSUANT TO 42 USC §1983

      20.    Plaintiffs Danielle and Aryion Brazziel reallege each paragraph above,

word for word.

      21.    The Fourth Amendment to the U.S. Constitution guarantees citizens,

like Plaintiff, a clearly established right to be free from “unreasonable searches and

seizures” by governmental officials. U.S. Const. Amend IV.

      22.    Defendants Woods and Stone violated Plaintiffs clearly established

Fourth Amendment rights when they shot and killed Plaintiffs’ family dog, Bane,

without legal excuse or justification.

      23.    As a direct and proximate result of Defendant Woods’ and Stone’s

violation of Plaintiffs’ clearly established federal rights, Plaintiff suffered the

following injuries, including, but not limited to, shock, horror, fear, emotional and

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mental distress, embarrassment, anguish, humiliation, anxiety anger, loss of the

enjoyments of life, pain and suffering, restrictions on her freedoms and liberties,

aggravation of pre-existing conditions and other non-economic injuries which may

continue up to and through the date of this litigation.

      24.    In addition to the compensatory, emotional, economic, consequential,

and special damages available, Plaintiffs are entitled to punitive damages against

each of the individually named Defendants under 42 USC § 1983, in that the actions

of each of these individual Defendants were cruel, horrifying, malicious, willful or

with reckless or wanton disregard of Plaintiff’s constitutional rights.

      ACCORDINGLY, Plaintiffs Danielle Brazziel and Aryion Brazziel asks this

Court to enter a judgment against Defendants Woods and Stone, jointly and

severally, in their individual and official capacities, including costs, interest,

statutory attorney fees, punitive damages and all other relief allowed by 42 USC

§1988 and any other relief the Court deems just.

                                     COUNT II

            MONELL CLAIM AGAINST THE CITY OF DETROIT

      25.    Plaintiffs Danielle Brazziel and Aryion Brazziel realleges each

paragraph above, word for word.

      26.    At the time of the constitutional deprivations discussed above,

Defendant City of Detroit had an illegal policy or custom of violating the Fourth


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Amendment rights of citizens, like Plaintiffs, by conducting unlawful searches and/or

seizures and killing of pets, like Plaintiff and her family were treated in this case.

       27.    At the time of the constitutional deprivations described above, the City

of Detroit failed to properly train its officers in the constitutional parameters of the

Fourth Amendment.

       28.    At the time of the constitutional deprivations described above, the

unconstitutional acts and omissions of the Defendant Detroit police officers was

ratified by an official with final decision-making authority (i.e., the Chief of Police)

and a custom of acquiescence and tolerance to the Departments long-standing

practice of unlawful seizure of property, as Plaintiff was treated in this case.

       29.    As a direct and proximate result of Defendant City of Detroit’s unlawful

conduct, Plaintiff suffered anxiety, fear, anguish, horror, shock, degradation,

indignity, depression, mental distress, loss of the enjoyments of life, out of pocket

expenses, and other economic and non-economic damages that will continue beyond

this litigation.

       ACCORDINGLY, Plaintiffs seeks judgment against Defendant City of

Detroit, for damages in whatever amount in excess of this Court’s jurisdictional

limits to which Plaintiff is entitled, which is reasonable, fair and just, plus costs,

interest and reasonable attorney fees, together with punitive damages as permitted

under 42 USC §§ 1983, 1985 and 1988.


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                                             Respectfully submitted,

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Date: January 29, 2025                       313-964-1702

                                JURY DEMAND

      Plaintiffs Danielle Brazziel and Aryion Brazziel hereby demand a jury trial in

the above captioned matter.

                                             Respectfully submitted,

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